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n "Y“ ]N THE UNITED STATES DISTRICT COURT

 

 

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"E:I§§§*CJ@§ jet ` "`
UNITEtPsYArh-s“t#s@ht§smcrt,
Plaintit`f,
vs. Cr. No. 04-20405-D
MARANDO BACHUS,
Defendant.

 

MOTION TO CONT]NUE R_EPORT

 

COMES MARANDO BACHUS, With this, his motion to continue report date and Would

state and show the following to this Honorable Court:

l. By agreement, this matter is being brought by information before the State Criminal

Court. Once this is accomplished and Defendant pleads guilty therein. At that time the

U.S. Attomeys Ofiice has agreed to dismiss the pending Federal Charges.

2. Counsel for the Defendant Will be arguing before the Court of Appeals Tuesday, April 19

and Will be unavailable to appear for this report date.

3. Counsel is certain that the AUSA Will not object to this motion

WHEREFORE, premises considered, Defendant prays for a two-Week continuance so that

Counsel can report on the status of this case.

gou\E DONALD

U.S. DISTRICT JUDGE

This document entered on the docket sh

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With Hu|e 55 and/or 32(b) FHCrF' on

    

 

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Respectfully submitted,

    
      

Assistant < .\ Defender
200 Jefferson ‘ Venue, Suite 200
Mernphis, TN 38103

(901) 544-3895

CERTIFICATE OF SERVICE

This is to certify that a copy of the foregoing Notice of Appearance has been forw 0
Mr. Greg Gilluly, Assistant U.S. Attorney, 167 N. Main, Suite 800, Memphis, TN 38103, thi
day of April, 2005.

 

_MARY CWM

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:04-CR-20405 Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

